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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JUSTIN VICTOR PARROTTE,                     :   CIVIL ACTION NO. 1:21-CV-1547
                                            :
                    Petitioner              :   (Judge Conner)
                                            :
             v.                             :
                                            :
COMMONWEALTH                                :
OF PENNSYLVANIA, et al.,                    :
                                            :
                    Respondent              :

                                       ORDER

      AND NOW, this 24th day of September, 2021, upon consideration of the

petition (Doc. 1) for writ of habeas corpus, and for the reasons set forth in the

accompanying memorandum, it is hereby ORDERED that:

      1.     The petition (Doc. 1) for writ of habeas corpus is DISMISSED without
             prejudice.

      2.     A certificate of appealability shall not issue.

      3.     The Clerk of Court is DIRECTED to close this case.


                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner
                                         United States District Judge
                                         Middle District of Pennsylvania
